                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                         ____________


No. 24-3169                                                 September Term, 2024
                                                                       1:21-cr-00190-DLF-1
                                                   Filed On: April 14, 2025 [2110982]
United States of America,

               Appellee

       v.

Zachary Jordan Alam,

               Appellant

                                         MANDATE

      In accordance with the order of April 14, 2025, and pursuant to Federal Rule of
Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                          FOR THE COURT:
                                                          Clifton B. Cislak, Clerk

                                                  BY:     /s/
                                                          Selena R. Gancasz
                                                          Deputy Clerk




Link to the order filed April 14, 2025
